             Case 18-31114-KKS     Doc 32     Filed 02/22/19   Page 1 of 3




                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION
                         www.flnb.uscourts.gov

IN RE:                                    Case No. 18-31114-KKS
Theresa Bryant Wallace,                   Chapter 7

       Debtor.                        /

                       ORDER GRANTING
 MOTION FOR RELIEF FROM THE AUTOMATIC STAY (DOC. NO. 18)
        (RE: 3124 J.W. Hollington Road, Freeport, FL 32439)

       THIS case came on for consideration upon the Motion of Creditor,

Trustmark National Bank, seeking relief of the automatic stay. The Motion for

Relief from the Automatic Stay (Doc. No. 18) was filed and served according to

Local Rule 2002-2 and Bankruptcy Rule 4001. The Trustee having withdrawn its

Objection (Doc. No. 21) and having filed a Report of No Distribution (Doc. No.

30), and no other party having filed an objection with the proscribed time period,

the Court considers this matter unopposed.

       IT IS ORDERED:

       1.    That the Motion for Relief from the Automatic Stay granted.

       2.    This order grants relief from the automatic stay and authorizes the

commencement or continuation of any judicial foreclosure proceeding, short sale,

or deed in lieu of foreclosure against the following described real property:



                                      Page 1 of 3
19-317493
            Case 18-31114-KKS    Doc 32    Filed 02/22/19   Page 2 of 3




       A PARCEL OF LAND LYING IN THE SOUTHEAST 1/4 OF
       SECTION 4, TOWNSHIP 1 SOUTH, RANGE 18 WEST, WALTON
       COUNTY, FLORIDA, BEING BOUNDED ON THE NORTH BY
       LAFAYETTE CREEK AND BOUNDED ON THE SOUTH BY THE
       NORTH LINE OF A 66 FOOT RIGHT-OF-WAY WHICH THE
       CENTERLINE IS THE SOUTH LINE OF SAID SECTION 4,
       BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:
       COMMENCE AT THE CONCRETE MONUMENT MARKING
       THE SOUTHEAST CORNER OF SAID SECTION 4; THENCE
       RUN N 01 DEGREES 15' 29"E ALONG THE EAST LINE
       THEREOF 33.00 FEET TO THE NORTH LINE OF AFORESAID 66
       FOOT RIGHT-OF-WAY; THENCE DEPARTING SAID EAST
       LINE RUN N 88 DEGREES 25' 55"W ALONG SAID NORTH
       RIGHT-OF-WAY AND PARALLEL TO SAID SOUTH SECTION
       LINE 893.87 FEET TO THE POINT OF BEGINNING; THENCE
       CONTINUE N 88 DEGREES 25' 55"W ALONG SAID RIGHT-OF-
       WAY LINE 250.00 FEET; THENCE DEPARTING SAID RIGHT-
       OF-WAY RUN N 01 DEGREES 15' 30"E 904 FEET MORE OR
       LESS, TO THE CENTERLINE OF SAID LAFAYETTE CREEK;
       THENCE MEANDER SAID CREEK EAST, SOUTHEASTERLY
       257 FEET, MORE OR LESS, TO ITS INTERSECTION WITH A
       LINE BEARING N 01 DEGREES 15' 30'1E FROM THE POINT OF
       BEGINNING; THENCE DEPARTING SAID CREEK RUN S 01
       DEGREES 15' 30"W 840 FEET, MORE OR LESS TO THE POINT
       OF BEGINNING.

       2001 FLEETWOOD EAGLE TRACE MOBILE HOME ID #
       GAFLY54AB6135-BT22 AND ID # GAFLY54BB6135-BT22.

       Said property also bears a common address of 3124 J.W. Hollington Road,

Freeport, FL 32439




                                   Page 2 of 3
19-317493
              Case 18-31114-KKS     Doc 32     Filed 02/22/19   Page 3 of 3




       3.     That movant shall not seek or obtain an in personam judgment against

the Debtor.

     DONE AND ORDERED on _________________________________.
                          February 22, 2019




                                        ______________________________
                                        KAREN K. SPECIE
                                        U.S. Bankruptcy Judge


Attorney Lindsey Savastano is directed to service a copy of this order on interested
parties and file a certificate of service within 3 business days of entry of this order.

Order Prepared by: Lindsey Savastano




                                       Page 3 of 3
19-317493
